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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION



 UNITED STATES OF AMERICA
                                                    Case No. 19-cr-00669
         v.
                                                    Hon. Edmond E. Chang
 CHRISTOPHER JORDAN



              DECLARATION OF JAMES J. BENJAMIN, JR. IN SUPPORT OF
              DEFENDANT CHRISTOPHER JORDAN’S MOTION TO SEVER

       I, James J. Benjamin, Jr., counsel for defendant Christopher Jordan, hereby declare and

state as follows:

   1. I respectfully submit this Declaration in support of Mr. Jordan’s motion for a severance,

       pursuant to Fed. R. Crim. P. 14(a). Together with this Declaration, I am also submitting a

       separate Sealed Declaration.

   2. In the Declaration, I have followed the anonymized naming conventions set forth in the

       Indictment. In the Sealed Declaration, I have included a key to assist the Court in

       identifying the anonymized individuals and institutions.

   3. Based on my review of documents and discussions with my client, in or around 2013 Mr.

       Jordan co-founded Brawl House, a fitness business in Mountainside, New Jersey

       focusing on combat sports, CrossFit, and yoga. Brawl House ceased operations in 2017,

       and Mr. Jordan has not had regular employment since then.

   4. On September 15 and 16, 2010, Mr. Jordan testified before the CFTC in an investigation

       captioned “In the Matter of: Silver Prices.” The transcript of Mr. Jordan’s testimony,

       which the government produced in discovery, spans 426 pages. The particular questions


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   and answers quoted at Paragraph 41 of the Indictment were near the end of the second

   day of Mr. Jordan’s deposition. The transcript for each day was paginated separately, but

   if they had been paginated consecutively, the particular questions and answers quoted at

   Paragraph 41 of the Indictment would be on pages 408-09 and 413 of the transcript. At

   pages 38-39, 82-84, and 123-25, on September 15, 2010, Mr. Jordan provided testimony

   regarding his departure from Bank A. A true and correct copy of these portions of Mr.

   Jordan’s September 15, 2010 CFTC testimony regarding his departure is attached as

   Exhibit A to my Sealed Declaration, filed together with this Declaration.

5. On December 20, 2019, the government provided defense counsel with a spreadsheet

   containing 54,456 sequences of alleged spoofing activity by the defendants and their

   alleged co-conspirators that, according to the government, “underlie the charges in the

   superseding indictment.” The spreadsheet contains, inter alia, the date of each sequence

   along with information to identify the individual trader. Based on our analysis, Mr.

   Jordan was responsible for 2,021 of the sequences identified by the government, while

   co-defendants Gregg Smith and Michael Nowak collectively were responsible for 41,749.

   According to the government’s spreadsheet, Mr. Smith was responsible for 38,146

   instances and Mr. Nowak was responsible for 3,603 instances. The two cooperating

   witnesses identified by name in the Indictment, Christian Trunz and John Edmonds, were

   collectively responsible for 8,717 instances. Based on our analysis, if the sequences are

   sorted by date instead of by trader, a total of 36,722 sequences not associated with Mr.

   Jordan occurred in 2010 or subsequent years.

6. On October 30, 2018, FBI Special Agent Jonathan Luca submitted an affidavit to a

   magistrate judge sitting in the Southern District of New York in support of an application



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   to seize and search electronic communications stored by Bloomberg, L.P. In the affidavit,

   Special Agent Luca described a trading analysis conducted by an unidentified data

   analytics firm retained by the government. As described in ¶ 27 of Special Agent Luca’s

   affidavit, the government’s analytics firm found zero episodes of suspected layering

   involving Mr. Jordan, but tens of thousands of such instances collectively involving Mr.

   Smith, Mr. Nowak, Mr. Trunz, and Mr. Edmonds. A true and correct copy of the Luca

   Affidavit is attached as Exhibit B to my Sealed Declaration, filed together with this

   Declaration.

7. To date, the government has produced more than 21 million pages of electronic

   discovery. Based on our preliminary review, Mr. Jordan’s name (or permutations thereof)

   appear in documents comprising approximately 445,000 pages. Approximately 20.7

   million pages of the government’s discovery material are coded with metadata containing

   a date field. Based on our preliminary review, of these, approximately 19.3 million pages

   are dated on or after January 1, 2010.

8. To date the government has produced interview reports on FBI Form FD-302 and/or

   grand jury testimony for a total of 33 witnesses. Based on our review, 26 of the 33

   witnesses have not provided substantive information about Chris Jordan, and most of the

   other seven witnesses have primarily given information about the behavior of one or

   more co-defendants, not Mr. Jordan.

9. On August 3 and 4, 2010, Michael Nowak testified before the CFTC in an investigation

   captioned “In the Matter of: Silver Prices.” The government produced the transcript of

   Mr. Nowak’s testimony in discovery. At pages 49-52 and 96-113, Mr. Nowak provided

   testimony regarding Mr. Jordan’s departure from Bank A. A true and correct copy of



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       these portions of Mr. Nowak’s August 3, 2010 CFTC testimony is attached as Exhibit C

       to my Sealed Declaration, filed together with this Declaration.

   10. Attached hereto as Exhibit A is a true and correct copy of the following document

       produced in discovery by the government: Release Agreement dated December 18, 2009

       (DOJ-0008293555-59).

I declare under penalty of perjury that, to the best of my knowledge, the foregoing statements are

true and correct.

Dated: May 26, 2020
       New York, New York


                                              /s/ James J. Benjamin, Jr.

                                             James J. Benjamin, Jr.
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                                             Counsel for Christopher Jordan




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                                CERTIFICATE OF SERVICE


       I hereby certify that on May 26, 2020, I caused a copy of the foregoing Declaration of

James J. Benjamin, Jr. in Support of Defendant Christopher Jordan’s Motion to Sever to be filed

with the Clerk of the Court through the CM/ECF system, which will provide notice of the filing

to all counsel of record.



                                             /s/ James J. Benjamin, Jr.

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